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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                       MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFFS’ MOTION FOR AN ORDER AUTHORIZING
                       ALTERNATIVE SERVICE OF SUBPOENAS

         UBS Securities LLC and UBS AG London Branch (together, “UBS”), plaintiffs in the

above-captioned adversary proceeding (the “Adversary Case”) and creditors in the above-

captioned chapter 11 case (the “Bankruptcy Case”), by and through their undersigned counsel,

respectfully submit this memorandum of law (the “Memorandum of Law”) in support of Plaintiffs’

Motion for an Order Authorizing Alternative Service of Subpoenas (the “Motion”) to request an

Order authorizing alternative service of process of a Subpoena to Testify at a Deposition in a

Bankruptcy Case or Adversary Proceeding and a Subpoena to Produce Documents, Information,

or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding (together, the

“Subpoenas”) upon Mr. Dondero—who is evading service.

                                             INTRODUCTION

         As this Court is aware, evidence has only recently come to light showing that the Debtor,

at the direction and with the involvement of numerous former Debtor employees, including, among

others, James Dondero, fraudulently transferred hundreds of millions of dollars of assets (the

“Transferred Assets”) away from funds currently or previously controlled, owned, and/or managed

by the Debtor to an entity jointly owned by Dondero and Ellington, in anticipation of the judgment

that UBS obtained against those funds in New York state court (the “Fraudulent Transfers”).

Although the Independent Board1 has provided UBS limited information regarding these transfers,

UBS needs discovery in order to develop fully the record to support its requested preliminary

injunction. But as explained below, Mr. Dondero is purposefully evading service despite UBS’s



1
 The Independent Board refers to the independent board of directors at Strand Advisors, Inc., the Debtor’s general
partner, created pursuant to a “corporate governance” settlement approved by the Court [Dkt. No. 339] in the above-
captioned chapter 11 case (the “Bankruptcy Case”).
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persistent and diligent attempts. As of the filing of this Motion, UBS has made over 31 service

attempts2 via process server, all to no avail.

         This evasive behavior cannot be allowed to continue, as Mr. Dondero was heavily involved

in the Fraudulent Transfers and will have highly relevant testimony and documents, as the

information collected to date demonstrates. Based both on public record searches and process

server’s direct observations, UBS is confident that it has the current home address of Mr. Dondero

as well as the email address for Mr. Dondero’s counsel, and has attempted to effectuate service via

counsel and personal service.           Additionally, UBS has received correspondence from Mr.

Dondero’s counsel discussing the Subpoenas. There can be no doubt that Mr. Dondero has actual

notice of the Subpoenas and of UBS’s service attempts. Indeed, Mr. Dondero included copies of

the very Subpoenas he refuses to accept service of as exhibits in a recent filing before this Court

[Adv. Dkt. Nos. 23-3, 23-4]. Accordingly, UBS respectfully requests that the Court issue an Order

authorizing alternative service so that UBS may serve the Subpoenas upon Mr. Dondero by mail

and email to his counsel.

         The Debtor (the only defendant in this Adversary Case) consents to the relief requested in

the Motion.

                                      FACTUAL BACKGROUND

         1.      In mid-February 2021, the Independent Board shared with UBS previously

undisclosed facts and documents that revealed shocking fraud undertaken at the hands of the

Witnesses. (See Dkt. No. 2199 ¶¶ 5-10.) Those documents show that at least as of August 7, 2017,

Highland CDO Opportunity Master Fund, L.P. (“CDO Fund”) and Highland Special Opportunities


2
 The 31 attempts referenced throughout this Memorandum include only those attempts to serve Mr. Dondero for
which UBS has already received affidavits of attempted service from the process servers; however, upon information
and belief, UBS is awaiting one additional affidavit of attempted service.


                                                        2
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Holding Company (“SOHC” and together with CDO Fund, the “Funds”), with substantial

involvement and assistance from Mr. Dondero, purported to “sell” the Transferred Assets

(documented as having a face value of over $300,000,000), which included all or substantially all

assets then remaining at the Funds and certain related entities, to Sentinel Reinsurance, Ltd.

(“Sentinel”) under a purported asset purchase agreement (the “Purchase Agreement”). Id. Sentinel

accepted the Transferred Assets purportedly as payment for a $25,000,000 premium on a document

entitled “Legal Liability Insurance Policy” (the “Insurance Policy”), despite the fact that the value

of the Transferred Assets far exceeded that premium. Id. ¶ 10 & n.7. The Funds began these

Fraudulent Transfers to Sentinel no later than 2017 pursuant to the purported Purchase Agreement

and, according to the Independent Board, continued attempts to convey Transferred Assets to

Sentinel at least until the Debtor filed for bankruptcy. See id. ¶ 10. Mr. Dondero, among others,

was heavily involved in the Fraudulent Transfers.

       2.      On March 31, 2021, UBS initiated this Adversary Case against the Debtor and filed

Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction [Adv. Dkt.

No. 4] (the “TRO Motion”). In anticipation of filing the TRO Motion, on March 30, 2021, UBS

served a preservation demand letter (the “Preservation Letters”) to Mr. Dondero via email and

overnight mail to counsel of record, putting him on notice that UBS believed he possessed relevant

discoverable materials and explaining his preservation obligations. See Declaration of Kathryn

George in Support of Plaintiffs’ Motion for an Order Authorizing Alternative Service of Subpoenas

(the “George Decl.”) Ex. 1 [UBS005-11].

       3.      On April 9, 2021, the Court entered an Order Granting Plaintiffs’ Motion for a

Temporary Restraining Order [Adv. Dkt. No. 21] (the “TRO Order”). The TRO Order remains in

place only until this Court’s decision on UBS’s requested preliminary injunction. In order to



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present evidence at a hearing on such motion, UBS must be allowed to take the necessary discovery

from Mr. Dondero.

       4.      On April 1, 2021, UBS began attempting to serve the Subpoenas on Mr. Dondero

through counsel of record, George Decl. Ex. 3 [UBS059-62], and by engaging Serving by Irving,

Inc., a licensed process serving firm. To date, UBS has made over 31 attempts to serve the

Subpoenas upon Mr. Dondero, with no success. See id. at Exs. 5-8 [UBS067-81].

       5.      UBS began attempting to serve Mr. Dondero on April 1, 2021, when UBS contacted

Mr. Clay Taylor of Bonds Ellis Eppich Schafer Jones LLP (“Bonds Ellis”), counsel of record to

Mr. Dondero in the Bankruptcy Case, to inquire whether counsel was authorized to accept service

of the Subpoenas on Mr. Dondero’s behalf. Id. Ex. 3 [UBS059-62]. Prior to this, on March 31,

2021, Mr. Taylor had requested a copy of the sealed TRO Motion, stating that “it appears [UBS]

think[s] our client is involved, in some way.” Id. Ex. 2 [UBS012-15] (emphasis added). And in

response to the Subpoenas sent to Mr. Taylor on April 1, 2021, Mr. Taylor responded—posing

rhetorical questions about whether the Subpoenas were sent in earnest—referring to Mr. Dondero

as “our client.” Id. Ex. 3 [UBS059-62]. On April 2, 2021, after UBS’s counsel confirmed the

Subpoenas were sent purposely, Mr. Taylor responded that he would attempt to “get a response

from my client” about whether he was authorized to accept service. Id. On April 5, 2021, Mr.

Taylor informed UBS that he was not authorized to accept service of the Subpoenas. Id.

       6.      Nonetheless, on April 16, 2021, Will Howell of Bonds Ellis, counsel to

Mr. Dondero, called UBS’s counsel to inform them that Mr. Dondero would be filing both a

motion for a protective order and a motion for the Court to reconsider its decision to seal the TRO

Motion. Mr. Taylor then initially offered by email to accept service of the Subpoenas effective

the day after a hearing on Mr. Dondero’s to-be-filed motions, but in his very next email said he



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had not yet received authorization from Mr. Dondero to accept service of the Subpoenas “either

immediately or at any fixed or readily determinable time and date.” Id. Ex. 4 [UBS063-66]. Mr.

Dondero, through Bonds Ellis, then filed the very Subpoenas he has been avoiding service of as

exhibits to a filing before this Court [Adv. Dkt. Nos. 23-3, 23-4].

       7.      On April 2, 2021, UBS’s process servers also began attempting to serve the

Subpoenas on Mr. Dondero at both his home and work addresses. George Decl. Exs. 5-8

[UBS067-81]. To date, Mr. Dondero has dodged their 31 attempts, made at various dates and

times. Id. Ex. In addition to routinely leaving their contact information, the process servers have

communicated with individuals at Mr. Dondero’s residence, including domestic help (finally sent

out after the process server rang the doorbell multiple times) who refused to take the server’s

business card and made her leave it in the mail box. Id. Ex. 6 [UBS070-74]. Further, Mr.

Dondero’s wife declined to tell the process server when Mr. Dondero might be available for a

return attempt. Id. Additionally, the servers staked out for multiple hours at NexBank, SSB’s

headquarters—where his counsel has previously indicated Mr. Dondero would likely be

conducting business—but after multiple conversations, the receptionists there claim to not know

when Mr. Dondero is expected back in the office. Id. Ex. 7 [UBS075-77].

       8.      Through these attempts, UBS has learned information that confirms it has Mr.

Dondero’s current address. Specifically, the process servers have spoken with a family member,

housekeeper, and nanny at the address, and identified a vehicle registered to Mr. Dondero and his

wife at the address. Id. Exs. 5-6, 8 [UBS067-74, UBS078-81].

       9.      Mr. Dondero has deliberately avoided the process servers for so long that the

original deadlines contained in the Subpoenas have expired. As a result, UBS was forced to amend




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the Subpoenas to notice them for dates in the future, and has continued diligent attempts to serve

Mr. Dondero with these amended Subpoenas.

       10.     For all of the reasons described above, upon information and belief, Mr. Dondero

is evading service of the Subpoenas.

                         REQUEST FOR ALTERNATIVE SERVICE

       11.     UBS has been unable to obtain service on Mr. Dondero despite numerous and

diligent attempts. Thus, by this Motion, UBS respectfully requests entry of an Order authorizing

alternative service of the Subpoenas upon Mr. Dondero by: (i) overnight mail to his current home

address; and (ii) email to his counsel.

       12.     Courts have allowed service by alternative methods where, as here, a party is unable

to effect personal service because the individual to be served has evaded service attempts. See

Ferrarese v. Shaw, 164 F. Supp. 3d 361, 367 (E.D.N.Y. 2016) (given “the defendant’s persistent

effort to evade service, the Court finds that service by alternate methods is proper in this case”).

       13.     This allowance has also extended to substitute service of a subpoena on a nonparty

witness under Rule 45 of the Federal Rules of Civil Procedure, made applicable to the Adversary

Case by Rule 9016 of the Federal Rules of Bankruptcy Procedure. Fed. R. Civ. P. 45(b)(1)

(“Serving a subpoena requires delivering a copy to the named person . . . .”); Mot. for Alternative

Serv., In re Victor Manuel Gallegos, No. 16-32555 (Bankr. S.D. Tex. Aug. 14, 2017), Dkt. No. 74

(attached as Exhibit B to the Appendix [UBS082-87]); Order on Pl.’s Mot. for Alt. Serv., In re

Victor Manuel Gallegos, No. 16-32555 (Bankr. S.D. Tex. Aug. 15, 2017), Dkt. No. 75 (granting

motion for alternative service upon “good cause shown” after three attempts made) (attached as

Exhibit C to the Appendix [UBS088-90]).

       14.     Texas Rule 106(b) permits alternative service “[u]pon motion supported by a

statement . . . listing any location where the defendant can probably be found and stating

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specifically the facts showing that service has been attempted . . . but has not been successful.”

Tex. R. Civ. P. 106(b). In such cases, “the court may authorize service: (1) by leaving a copy of

the citation and of the petition with anyone older than sixteen at the location specified in the

statement; or (2) in any other manner, including electronically by social media, email, or other

technology, that the statement or other evidence shows will be reasonably effective to give the

defendant notice of the suit.” Id.; see also Evergreen Nat’l Indem. Co. v. Herndon ex rel. Tr. of

Mark. A. Herndon Tr., 3:07-CV-0184-B, 2007 U.S. Dist. LEXIS 74688, at *3-4 (N.D. Tex. Sept.

28, 2007) (authorizing substitute service by “securely affixing the Summons, Complaint, and other

court papers to the front gate of the residence”).

       15.     The touchstone of these analyses is whether the method of service is “reasonably

calculated, under all circumstances, to apprise interested parties of the pendency of the action and

afford them an opportunity to present their objections.” FTC v. PCCare247 Inc., No. 12 Civ. 7189

(PAE), 2013 U.S. Dist. LEXIS 31969, at *11-12 (S.D.N.Y. Mar. 7, 2013) (quoting Mullane v.

Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950)); see PC Drivers Headquarters, LP v.

Ambicom Holdings, Inc., No. 1:15-cv-1038-RP, 2017 U.S. Dist. LEXIS 51040, at *6 (W.D. Tex.

Apr. 4, 2017) (“[T]he due process underpinnings” of service “are well established. Yet it is equally

established that ‘the Constitution does not require any particular means of service of process.’”

(citations omitted)); see also Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1017 (9th Cir.

2002) (“To be sure, the Constitution does not require any particular means of service of process,

only that the method selected be reasonably calculated to provide notice and an opportunity to

respond. In proper circumstances, this broad constitutional principle unshackles the federal courts

from anachronistic methods of service and permits them entry into the technological renaissance.”

(citations omitted)).



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       16.     As described above and in the affidavits of attempted service attached to the George

Declaration, personal service has been attempted on numerous occasions at Mr. Dondero’s home

and business address. See generally George Decl. Exs. 5-8 [UBS067-81]. Additionally, there is

no reason to doubt, based on communications with Mr. Dondero’s current counsel, that he has

actual notice of the Subpoenas, regardless of whether they have been personally served. See Adv.

Dkt. Nos. 23-3, 23-4 (Mr. Dondero attaching the Subpoenas to his own filing). There can be no

question that Mr. Dondero is intentionally and purposefully evading service. See George Decl.

Exs. 5-8 [UBS067-81]. Continued attempts at personal service of the Subpoenas at these addresses

is unlikely to be fruitful, but no prejudice will result to Mr. Dondero if this Motion for alternate

service is granted, as service of the Subpoenas by mail and email is likely to be successful since

Mr. Dondero “can [more than] probably be found” at those addresses. Tex. R. Civ. P. 106(b); see

McKenzie v. Star Shuttle, Inc., No. 5:19-cv-749-JKP, 2019 U.S. Dist. LEXIS 159168, at *6-7

(W.D. Tex. Sept. 18, 2019) (allowing alternative service “in a manner that the record indicates will

be reasonably effective to give Defendant . . . notice” when personal service “is unlikely to be

effective”).

       17.     Mailing the Subpoenas to Mr. Dondero’s home address is “reasonably calculated

to ensure receipt of the subpoena by the witness.” See, e.g., TracFone Wireless, Inc. v. SCS Supply

Chain LLC, 330 F.R.D. 613, 616 (S.D. Fla. 2019) (ordering service of third-party subpoenas “by

FedEx or UPS, as such methods are reasonably calculated to insure receipt of the subpoena by the

witness”). As detailed above, the home address is current, as confirmed by the process servers

who have diligently monitored the locations. See supra ¶ 8. In such instances, “[c]ertified mail

serves the same purpose as Rule 45(b) which is to ‘mandate effective notice to the subpoenaed

party, rather than slavishly adhere to one particular type of service.’” N.J. Bldg. Laborers



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Statewide Benefit Funds v. Torchio Bros., Inc., No. 08-552, 2009 U.S. Dist. LEXIS 10267, at *6

(D.N.J. Feb. 11, 2009) (citation omitted).

       18.     While “[s]ervice by email alone comports with due process where a plaintiff can

demonstrate that the email is likely to reach the defendant,” Ferrarese, 164 F. Supp. 3d at 367

(citation omitted), UBS proposes to email the Subpoenas to Mr. Dondero’s counsel as a second

“reasonably calculated” method to backstop service by overnight mail to his known home

addresses. These methods, alone and collectively, are appropriate service alternatives. See, e.g.,

Grimsley v. Faulkner, No. EP-09-cv-396-KC, 2010 U.S. Dist. LEXIS 164484, at *5 (W.D. Tex.

Mar. 5, 2010) (“Service by first-class mail is also an acceptable substitute” under Texas Rule

106(b)); Ferrarese, 164 F. Supp. 3d at 366 (“Courts have found that service by certified mail to a

defendant's last known address is a valid method of alternate service.”); MetroPCS v. Devor, 256

F. Supp. 3d 807, 808 (N.D. Ill. 2017) (finding a deposition notice sent via Facebook and email to

be “properly served” since plaintiff’s diligent traditional service attempts under the Federal Rules

had been unsuccessful).

       19.     Nor is this request out of the ordinary, as multiple courts have authorized service

of process via alternative means, including by mail and email when, as here, a witness is avoiding

service. See, e.g., Agreed Order Granting Agreed Mot. for Alt. Serv. of Dep. Subpoena, AMAX

Inv. Co. v. Amtrust Ins. Co. of Kan., Inc., No. 3:13-cv-1589 (N.D. Tex. Aug. 19, 2014), Dkt. No. 39

(authorizing alternative service of a deposition notice and subpoena after the party to be served

evaded four service attempts) (attached as Exhibit D to the Appendix [UBS091-93]); Ferrarese,

164 F. Supp. 3d at 367 (“Having considered the petitioner’s submissions and the facts and

circumstances of this case, especially the defendant’s persistent effort to evade service, the Court

finds that service by alternate methods is proper in this case.”). “The Federal Rules of Civil



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Procedure should not be construed as a shield for a witness who is purposefully attempting to

evade service.” Cordius Tr. v. Kummerfeld, No. 99 CIV. 3200 (DLC), 1999 U.S. Dist. LEXIS

19980, at *5-6 (S.D.N.Y. Jan. 3, 2000) (granting the motion for alternative service via certified

mail on a third party after considering the movant’s “repeated attempts” to effect service as well

as the “cost and delay that would result by requiring further attempts at such service”).

       20.     In addition, and as detailed above, there can be no question that Mr. Dondero is

already aware of the Subpoenas and UBS’s service attempts. See supra ¶¶ 4-6. “[W]ealthy

deponents may not evade service by occupying multiple residences and enjoying the privilege of

concierge and housekeeping services.”       In re Viacao Itapemirim, S.A., 608 B.R. 268, 274

(Bankr. S.D. Fla. 2019). In cases such as this one, where the individual to be served thwarts

personal service “as a means of creating a procedural hurdle to timely litigation,” alternative

service will cause no prejudice. Terrestrial Comms LLC v. NEC Corp., No. 6:20-CV-00096-ADA,

2020 U.S. Dist. LEXIS 110983, at *9-11 (W.D. Tex. June 24, 2020).

       21.     Accordingly, UBS respectfully requests this Court grant the Proposed Order

attached as Exhibit A to the Motion.

                                         CONCLUSION

       UBS respectfully requests the Court enter an Order:

       (1)     authorizing alternative service upon Mr. Dondero by (i) overnight mail to his

current home address; and (ii) email to Mr. Dondero’s counsel; and

       (2)     granting such other relief as UBS may be entitled in law or in equity.



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Dated: April 19, 2021                          Respectfully submitted,

                                               /s/ Andrew Clubok

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                                CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that the Memorandum of Law in Support of Plaintiffs’ Motion for

an Order Authorizing Alternative Service of Subpoenas was filed electronically through the

Court’s ECF system, which provides notice to all parties of interest.


       Dated: April 19, 2021

                                                            /s/ Martin Sosland




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